Case 14-26170   Doc 76-1   Filed 03/26/21   Page 1 of 13




                                                           Exhibit 1
Case 14-26170   Doc 76-1   Filed 03/26/21   Page 2 of 13




                                                           Exhibit 1
Case 14-26170   Doc 76-1   Filed 03/26/21   Page 3 of 13




                                                           Exhibit 2
                  Case 14-26170         Doc 76-1   Filed 03/26/21   Page 4 of 13




State of Maryland
Central Collection Unit
Fifth Floor Certification
300 West Preston Street
Baltimore, MD 21201

Dedre Feyijinmi
4504 Ingham Road
Owings Mills, MD 21117
dedrefeyijinmi@hotmail.com
443-925-4129

October 27, 2020

Hello,

I would like to appeal this decision.

Can you please direct me as to who can assist with this matter? I received a letter regarding a
payment that was already made through garnishment. See attached.

Thank you,


Dedre Feyijinmi




                                                                                                  Exhibit 3
          Case 14-26170   Doc 76-1   Filed 03/26/21   Page 5 of 13



2691255




                                                                     Exhibit 3
Gmail - Fw: CCU 2935086                                         https://mail.google.com/mail/u/0?ik=8325c21f57&view=pt&search=all...
                               Case 14-26170       Doc 76-1   Filed 03/26/21     Page 6 of 13


                                                                           Marie Pharaoh <mariepharaoh@gmail.com>



         Fw: CCU 2935086
         Dedre Feyijinmi <dedrefeyijinmi@hotmail.com>                                      Thu, Mar 25, 2021 at 11:00 AM
         To: Marie Lott-Pharoth <mariepharaoh@gmail.com>




                                                                                                                 Exhibit 4


1 of 3                                                                                                           3/25/2021, 6:00 PM
Gmail - Fw: CCU 2935086                                           https://mail.google.com/mail/u/0?ik=8325c21f57&view=pt&search=all...
                              Case 14-26170       Doc 76-1      Filed 03/26/21     Page 7 of 13


          March 25, 2021



          On October 24,2020 I received a letter from CCU. I was confused and went into a panic attack because it
          stated my wages would be garnished when I knew that I filed bankruptcy and I paid for five years and it
          was officially discharged. CCU was included in the bankruptcy.



          I immediately wrote a letter asking for an appeal due to the bankruptcy agreement and provided
          documentation. I mailed the letter on October 27, 2020. Every day since then all I could do is worry. A
          week later I mailed a copy of the same letter to make sure they received it. I waited and waited and heard
          nothing from CCU. Every day I checked the mail; every paycheck I worried that I would not be able to
          pay my rent. It consumed me to the point it was difficult to concentrate at work. My daily routine was
          gone. I was not reading my emails, so I missed tasks’ that my boss assigned. I was missing meetings
          because I was mentally preoccupied with being garnished and time would escape me. It got so bad that
          my boss emailed me “we need to talk” on December 17, 2020 because I didn’t see “another” important
          email. When we spoke the next day, it was the first time in 9 years that I received a warning. I was on the
          zoom meeting crying. My boss added that she noticed I have been preoccupied with something in my
          personal life and it would be best that I take time off rather than continue to have “poor” work. I agreed
          with everything she said. She was right. I told her since we would be off Christmas Eve until New Year’s
          that I would get myself back on track in the new year. I was so depressed I took extra pills and slept the
          whole week; I hardly ate.



          I put on a brave face and tried to be focused on work; it was difficult, but I could not afford to loose my
          job. I still checked the mail daily and worried every day and every check. On February 10, 2021 I began
          receiving Unknown phone calls. It was CCU, she left a message telling me to answer the phone for
          Unknown caller. On February 11, 2021 Lynetta Johnson called me and told that the bankruptcy meant
          nothing, the money they received was credited to my account. Mrs. Johnson said I owed the principal
          amount and five years of interest; and interest will continue to be added daily. She said as of that day I
          owe CCU $10,474.85 and I should remember the daily interest added. My heart started racing; I could not
          breathe. I had so many questions; how is this possible. I told Mrs. Johnson to please let me call my lawyer
          and she said ok. I was a walking train wreck since that call. I reached out to Mrs. Lott-Pharaoh and waited
          for her to call. Mrs. Johnson called on February 16, 2021 to follow up and tell me that my garnishment
          would go through.



          Dedre Feyijinmi




          From: Dedre Feyijinmi <dedrefeyijinmi@hotmail.com>
          Sent: Wednesday, March 24, 2021 9:07 AM
          To: Marie Lo -Pharoth <mariepharaoh@gmail.com>
          Subject: Fw: CCU 2935086
                                                                                                                   Exhibit 4


2 of 3                                                                                                             3/25/2021, 6:00 PM
Gmail - Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy ...     https://mail.google.com/mail/u/0?ik=8325c21f57&view=pt&search=all...
                                  Case 14-26170          Doc 76-1        Filed 03/26/21       Page 8 of 13


                                                                                       Marie Pharaoh <mariepharaoh@gmail.com>



         Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy case #14-26170
         Marie Pharaoh <mariepharaoh@gmail.com>                                                       Wed, Feb 17, 2021 at 10:03 PM
         To: bankruptcy@dbm.state.md.us

           Dear Sir/Madam,

           I represented Ms. Feyijinmi in her Chapter 13 bankruptcy case filed on October 21, 2014 in the United States
           Bankruptcy Court for the District of Maryland. I have called your office twice and left messages in an effort to speak
           with an attorney about this matter.

           Ms. Feyijinmi disclosed and scheduled the debt owed to the State of Maryland in her Chapter 13 filings. Maryland
           Central Collection Unit ("CCU") through the Maryland State's Attorney General Office filed a proof of claim in the
           case. The amount owed as shown in the attached amended proof of claim, claim #12 and filed on May 5, 2015, was
           for $7275.33. As shown on the proof of claim, it stated that the debt originated from unpaid "Court Ordered Fees".
           Ms. Feyijinmi successfully completed her Chapter 13 plan and received a discharge on February 26, 2020. See
           attached Order of Discharge.

           Recently, she has been contacted by CCU for payment of the debt. CCU now is seeking to unlawfully garnish her
           wages. I am writing to inform your office that the debt has been discharged and cannot be collected from Ms.
           Feyijinmi. Should CCU continue with its collections activities, I have no choice but to move the United States
           Bankruptcy Court for sanctions.

           Ms. Feyijinmi was told by the CCU employee responsible for collecting the debt that the debt was not dischargeable
           because it is a "fine." 11 USC section 1328(a) of the United States Bankruptcy Code grants a debtor a discharge of all
           debts, with few exceptions, upon completion of her Chapter 13 plan payments. In subsection (a), paragraph (3),
           provides one of the few exceptions for nondischargeability of a debt after a discharge is granted in a Chapter 13
           case. I think the employee is mistakenly referencing this paragraph to support CCU's claim that the debt is still
           collectible. This paragraph provides that a debt owed by the debtor "for restitution, or a criminal fine, included in a
           sentence on the debtor’s conviction of a crime" is not dischargeable.

           A closer examination of this paragraph clearly shows that this particular debt is in fact dischargeable, as it does not
           meet all the requirements of that paragraph. While Ms. Feyijinmi was ordered to pay restitution to the State of
           Maryland, as evidenced by the restitution judgment filed with the proof of claim. She was, however, never convicted
           nor sentenced in the underlying criminal case. She received a probation before judgment. She completed the terms of
           the probation and has since been granted an expungement of that case. See the attached Order of Expungement.
           Under Maryland Criminal Procedure Art. Title 6, Subtitle 2, section 6-220(g)(3) the completion of the terms of the
           probation before judgment "shall be without judgment of conviction and is not a conviction for the purpose of any
           disqualification or disability imposed by law because of conviction of a crime."

           I appreciate your time and efforts in this matter. Please feel free to call me at (240) 606-3494 or respond via this
           forum.

           Sincerely,

           Marie Lott Pharaoh
           Attorney at Law




            3 attachments
                                                                                                                              Exhibit 5


1 of 2                                                                                                                        3/25/2021, 8:08 PM
Gmail - Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy ...     https://mail.google.com/mail/u/0?ik=8325c21f57&view=pt&search=all...
                                  Case 14-26170         Doc 76-1         Filed 03/26/21     Page 9 of 13

                12. amended POC.pdf
                78K
                Expungement.pdf
                2152K
                Order of Discharge.pdf
                78K




                                                                                                                            Exhibit 5


2 of 2                                                                                                                      3/25/2021, 8:08 PM
Gmail - Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy ...     https://mail.google.com/mail/u/0?ik=8325c21f57&view=pt&search=all...
                                 Case 14-26170          Doc 76-1         Filed 03/26/21     Page 10 of 13


                                                                                      Marie Pharaoh <mariepharaoh@gmail.com>



         Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy case #14-26170
         Susan Scanlon -DBM- <susan.scanlon@maryland.gov>                                      Thu, Feb 18, 2021 at 11:32 AM
         To: mariepharaoh@gmail.com
         Cc: Lisa Jenkins -DBM- <lisa.jenkins@maryland.gov>, "Alan L. Johnson -OAG-" <alan.johnson@maryland.gov>

           Good morning, Ms. Pharaoh.
           I have reviewed your email and the supporting documents. CCU continues to take the position that restitution debts
           are not discharged. For support, CCU relies on Kelly v. Robinson, 479 U.S. 36 (1986) and its progeny, such as In re
           Wilson, 8th Cir.BAP (Ark.) 2000, 252 B.R. 739. It is CCU's position that in a Ch 13 context, Ms. Rodriquez-Feyijinmi's
           guilty plea which resulted in the imposition of restitution as part of the criminal sentence are included in the broad
           class of debts that are not discharged.

           Susan C. Scanlon
           Assistant Attorney General
           Senior Counsel/Supervising Attorney
           Office of the Attorney General-DBM
           300 West Preston Street, Room 407
           Baltimore, MD 21201
           410-767-1234 phone
           410-333-5887 fax
           Susan.Scanlon@Maryland.gov

           *LEGAL DISCLAIMER - The information contained in this communication (including any attachments)
           may be confidential and legally privileged. This email may not serve as a contractual agreement unless
           explicit written agreement for this purpose has been made. If you are not the intended recipient, you
           are hereby notified that any dissemination, distribution, or copying of this communication or any of its
           contents is strictly prohibited. If you have received this communication in error, please re-send this
           communication to the sender indicating that it was received in error and delete the original message and
           any copy of it from your computer system.*




                                                                                                                            Exhibit 6


1 of 1                                                                                                                      3/25/2021, 6:02 PM
Gmail - Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy ...     https://mail.google.com/mail/u/0?ik=8325c21f57&view=pt&search=all...
                                  Case 14-26170          Doc 76-1        Filed 03/26/21      Page 11 of 13


                                                                                       Marie Pharaoh <mariepharaoh@gmail.com>



         Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy case #14-26170
         Marie Pharaoh <mariepharaoh@gmail.com>                                                  Fri, Feb 19, 2021 at 9:41 AM
         To: Susan Scanlon -DBM- <susan.scanlon@maryland.gov>
         Cc: Lisa Jenkins -DBM- <lisa.jenkins@maryland.gov>, "Alan L. Johnson -OAG-" <alan.johnson@maryland.gov>

           Ms. Scanlon,

           I appreciate your timely response. As you are aware, Ms. Feyijinmi is being threatened with a wage garnishment, so
           time is of the essence. I think we need to litigate this matter. I have one request that CCU hold off on the garnishment.
           I will be filing a Motion to Reopen Ms. Feyijinmi's bankruptcy case. I plan to do so by Monday, February 22, 2021.

           I am familiar with the Supreme Court case cited, but as you are aware 11 USC section 537(a)(7) is not at issue in a
           Chapter 13 discharge because it is specifically excluded in 11 USC section 1328(a)(2). So that case has no bearing
           on this matter.

           Upon reviewing the 8th circuit case cited, it does not control this circuit, the 4th circuit. Furthermore, the facts are
           distinguishable. The analysis, moreover, set forth by the court to undermine Texas' determination that its "deferred
           adjudication" is not a conviction, but can be considered a conviction under the Bankruptcy Code is forced and
           unconvincing.

           It is also unclear as to whether Texas "deferred adjudication" is akin to Maryland's probation before judgment.
           Perhaps, to get the "deferred adjudication" remedy, a Texan defendant has to plead guilty. On the Expungement
           Information Sheet, Ms. Feyijinmi was granted a PBJ under Maryland Criminal Procedure Art. Title 6, Subtitle 2,
           section 6-220, and there is no requirement that a defendant plead guilty to be granted a PBJ. And we cannot assume
           that she pled guilty. When I was a public defender in Baltimore County, where the criminal case took place, we would
           proceed on what we called a Not Guilty Agreed Statement of Facts. The defendant made no plea and the State's
           Attorney read the facts from the complaint into the record. The judge made the decision as to the sufficiency of the
           evidence to determine the defendant's guilt.

           An additional distinguishing factor is that the debtor In re Wilson failed to schedule and notify the creditor of the
           Chapter 13. In this case, Ms. Feyijinmi scheduled the debt and CCU filed a Proof of Claim, in which it couched the
           debt as "Court Ordered Fees" rather than as a fine or restitution. In addition, Ms. Feyijinmi's probation was not
           conditioned on her paying the restitution, if so, she would not have been entitled to expunging all records associated
           with the criminal case.

           So, an evidentiary hearing is required, if CCU is going to rest its hat on In re Wilson.

           Before CCU continues with its collection activities, I think it would be both reasonable and practical for the Bankruptcy
           Court to address this matter. I do appreciate your time and efforts in this matter.

           Thank you,

           Marie Lott Pharaoh
           Attorney at Law
           (240) 606-3494

           [Quoted text hidden]




                                                                                                                               Exhibit 7


1 of 1                                                                                                                         3/25/2021, 6:03 PM
Gmail - Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy ...     https://mail.google.com/mail/u/0?ik=8325c21f57&view=pt&search=all...
                                  Case 14-26170         Doc 76-1         Filed 03/26/21     Page 12 of 13


                                                                                      Marie Pharaoh <mariepharaoh@gmail.com>



         Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy case #14-26170
         Susan Scanlon -DBM- <susan.scanlon@maryland.gov>                                       Tue, Feb 23, 2021 at 9:45 AM
         To: Marie Pharaoh <mariepharaoh@gmail.com>
         Cc: Lisa Jenkins -DBM- <lisa.jenkins@maryland.gov>, "Alan L. Johnson -OAG-" <alan.johnson@maryland.gov>, Michael
         Watts -DBM- <michael.watts2@maryland.gov>

           Ms Pharaoh,
           Your voicemail left at the central office was forwarded to me. Unfortunately, I do not believe I can advise you as to
           how to serve the adversary as that would constitute legal advice. I believe the FRBP clearly set out the service
           requirements for a governmental agency. I would appreciate an emailed courtesy copy, if it is not too much trouble.
           Thanks.
           Susan

           Susan C. Scanlon
           Assistant Attorney General
           Senior Counsel/Supervising Attorney
           Office of the Attorney General-DBM
           300 West Preston Street, Room 407
           Baltimore, MD 21201
           410-767-1234 phone
           410-333-5887 fax
           Susan.Scanlon@Maryland.gov

           *LEGAL DISCLAIMER - The information contained in this communication (including any attachments)
           may be confidential and legally privileged. This email may not serve as a contractual agreement unless
           explicit written agreement for this purpose has been made. If you are not the intended recipient, you
           are hereby notified that any dissemination, distribution, or copying of this communication or any of its
           contents is strictly prohibited. If you have received this communication in error, please re-send this
           communication to the sender indicating that it was received in error and delete the original message and
           any copy of it from your computer system.*

           [Quoted text hidden]




                                                                                                                            Exhibit 8


1 of 1                                                                                                                      3/25/2021, 6:04 PM
Gmail - Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy ...      https://mail.google.com/mail/u/0?ik=8325c21f57&view=pt&search=all...
                                  Case 14-26170          Doc 76-1        Filed 03/26/21       Page 13 of 13


                                                                                       Marie Pharaoh <mariepharaoh@gmail.com>



         Dedre Rodriquez-Feyijinmi -- CCU case #2935086, Bankruptcy case #14-26170
         Marie Pharaoh <mariepharaoh@gmail.com>                                                         Tue, Feb 23, 2021 at 12:18 PM
         To: Susan Scanlon -DBM- <susan.scanlon@maryland.gov>

           Ms. Scanlon,

           Thank you for responding, but my question did not have to do with how, but to whom. The OAG released a press
           release early last year stating that service can be made via email until further notice. I didn't see any further notices on
           this matter.

           As you are aware, the Md. Rule 2-214 for service of process states the following: " (j) State of Maryland. Service is
           made upon the State of Maryland by serving the Attorney General or an individual designated by the Attorney General
           in a writing filed with the Clerk of the Court of Appeals.

           So, the question had to do with whether the emailing was still viable or whether there is a designated individual for the
           Central Collection Unit to receive service? As you are further aware, under the Federal Bankruptcy Rule 7004(b)(6),
           the attorney needs to find out whom to serve in the state.

           So, not asking how in the sense of how to do a certificate of service or however else you interpreted my message to
           infer that I was seeking legal advice. My question was simple: whether the emailing is still valid or if there is a
           designated person to serve the motion.

           Once I file, I will send you a copy of the motion.

           Thank you,

           Marie Lott Pharaoh
           Attorney at Law
           (240) 606-3494


           [Quoted text hidden]




                                                                                                                                Exhibit 9


1 of 1                                                                                                                          3/25/2021, 6:05 PM
